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             UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF TEXAS
                   AMARILLO DIVISION


  Susan Neese, M.D and James Hurly,
  M.D., on behalf of themselves and
  others similarly situated,

                        Plaintiffs,
                                                Case No. 2:21-cv-00163-Z
  v.

  Xavier Becerra, in his official capacity as
  Secretary of Health and Human
  Services; United States of America,

                        Defendants.


    RESPONSE TO DEFENDANTS’ MOTION FOR SUMMARY
  JUDGMENT AND REPLY BRIEF IN SUPPORT OF PLAINTIFFS’
           MOTION FOR SUMMARY JUDGMENT
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I.      The Plaintiffs Have Established Article III Standing
     The plaintiffs are asking this Court to: (1) “hold unlawful and set aside” the Secretary’s
notification of May 10, 2021, under section 706 of the APA; (2) declare that section 1557’s

prohibition on “sex” discrimination does not prohibit all discrimination on account of “sexual
orientation” and “gender identity,” but only conduct in which the provider would have acted
differently toward an identically situated member of the opposite biological sex; and (3) enjoin
the Secretary from using or enforcing the interpretation of section 1557 that appears in the
notification of May 10, 2021. See First Amended Complaint, ECF No. 11, at ¶¶ 44–50.
     The defendants try to defeat standing by observing that the plaintiffs are uninjured by the
portion of the notification that prohibits discrimination on account of “sexual orientation.” See
Defs.’ Br., ECF No. 56, at 13–14. But judicial review under the APA requires courts to review
the challenged agency action — and to “hold unlawful and set aside” the challenged action if it
is “not in accordance with law.” 5 U.S.C. § 706 (“The reviewing court shall — . . . (2) hold
unlawful and set aside agency action, findings, and conclusions found to be — (A) . . . not in
accordance with law” (emphasis added)); 5 U.S.C. § 704 (“[F]inal agency action for which
there is no other adequate remedy in a court are subject to judicial review.” (emphasis added)).

The plaintiffs are challenging the Secretary’s “action” in issuing the notification of May 10,
2021. The plaintiffs’ injuries are “fairly traceable” to this action — even if they are not injured
by every single word that appears in the notification. And the proper remedy under the APA,
upon finding an agency action “not in accordance with law,” is to formally revoke the “action,”
(i.e. the notification), rather than merely enjoin the enforcement of the disputed provisions. See
Data Marketing Partnership, LP v. United States Dep’t of Labor, 45 F.4th 846, 859(5th Cir.
2022) (“The APA gives courts the power to ‘hold unlawful and set aside agency action[s].’ 5
U.S.C. § 706(2). . . . [Section] 706 ‘extends beyond the mere non-enforcement remedies avail-
able to courts that review the constitutionality of legislation, as it empowers courts to “set
aside” — i.e., formally nullify and revoke — an unlawful agency action.’” (citation omitted));
Driftless Area Land Conservancy v. Valcq, 16 F.4th 508, 522 (7th Cir. 2021) (“Vacatur [of an


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agency action] retroactively undoes or expunges a past [agency] action. . . . Unlike an injunc-
tion, which merely blocks enforcement, vacatur unwinds the challenged agency action.”). The

plaintiffs have standing to seek this remedy, even if their injuries arise only from the gender-
identity component of the rule.
    The defendants also claim that the plaintiffs’ injuries have been obviated by the Notice of
Proposed Rulemaking, which (according to the defendants) disclaims any interpretation of sec-
tion 1557 that would prohibit the conduct that the plaintiffs wish to engage in. See Defs.’ Br.,
ECF No. 56, at 5–6; id. at 14–17. There are many problems with this argument. First, a plain-
tiff’s standing is assessed at the moment the lawsuit is filed and is unaffected by post-filing de-
velopments. See Carney v. Adams, 141 S. Ct. 493, 499 (2020) (“[S]tanding is assessed ‘at the
time the action commences’” (citation omitted)). The Notice of Proposed Rulemaking was
issued on August 4, 2022 — nearly one year after the plaintiffs filed their lawsuit — so it has no
relevance to standing and concerns only whether the plaintiffs’ claims have become moot. See
Friends of the Earth, Inc. v. Laidlaw Environmental Services (TOC), Inc., 528 U.S. 167, 189–
90 (2000) (explaining distinction between standing and mootness). But the defendants are not
making a mootness argument, and they cannot show that the Notice of Proposed Rulemaking
moots the plaintiffs’ claims when the rulemaking process is not complete and the contents of
the proposed rule could change between now and when the rule becomes final. See El Paso
Electric Co. v. FERC, 667 F.2d 462, 467 (5th Cir. 1982) (“A case is not rendered moot simply
because there is a possibility, or even a probability, that the outcome of a separate administrative
proceeding may provide the litigant with similar relief.”); Defs.’ Br., ECF No. 56, at 17 (ac-

knowledging that the Notice of Proposed Rulemaking merely “sets forth a proposed rule, and
HHS must consider any significant comments it receives before issuing a final rule.”).
    The second problem is that a Notice of Proposed Rulemaking has no legal force, and it
does not withdraw or nullify the earlier agency “action” that the plaintiffs are challenging. The
notice of proposed rulemaking will culminate in a separate and distinct final agency action that
can be challenged under the APA, but the mere issuance of a Notice of Proposed Rulemaking

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does nothing to affect the notification of May 10, 2021, or its contents. See Biden v. Texas, 142
S. Ct. 2528, 2544–45 (2022) (explaining how separate DHS memoranda that sought to termi-

nate the Migrant Protection Protocol were distinct agency “actions”). The plaintiffs are chal-
lenging the legality of the agency “action” taken on May 10, 2021 — and subsequent agency
actions have no bearing on whether that agency action should be set aside as “not in accordance
with law” under section 706(2)(A) of the APA. See Department of Homeland Security v. Regents
of the University of California, 140 S. Ct. 1891, 1907 (2020) (“It is a ‘foundational principle
of administrative law’ that judicial review of agency action is limited to ‘the grounds that the
agency invoked when it took the action.’” (quoting Michigan v. EPA, 576 U.S. 743, 758
(2015)); id. at 1909 (“An agency must defend its actions based on the reasons it gave when it
acted.”).
    The final problem is that the proposed rule does nothing to alleviate the plaintiffs’ objec-
tions to the Secretary notification of May 10, 2021. The proposed rule goes well beyond Bostock
by interpreting section 1557’s prohibition on “sex” discrimination to encompass “discrimina-
tion on the basis of sex stereotypes; sex characteristics, including intersex traits; pregnancy or
related conditions; sexual orientation; and gender identity.” Dep’t of Health & Human Services,
Nondiscrimination in Health Programs and Activities, Notice of Proposed Rulemaking, 87 Fed.
Reg. 47,824, 47,916 (Aug. 4, 2022) (text of proposed 45 C.F.R. § 92.101). It also forbids
covered entities to “[d]eny or limit health services, including those that are offered exclusively
to individuals of one sex, to an individual based upon the individual’s sex assigned at birth,
gender identity, or gender otherwise recorded,” a prohibition that would appear to compel

providers to offer and provide prostate-cancer screenings to biological women who identify as
men on the same terms that they would give them to biological men. See id. at 47,918 (text of
proposed 45 C.F.R. § 92.206(b)(1)). And the supposed “safe harbors” in the proposed rule
only reaffirm the legal jeopardy that the plaintiffs will face if they refuse to refer minors for
puberty blockers or sex-change operations, or if they refuse to provide “gender-affirming care”
to any patient with gender dysphoria. Consider the text of proposed 45 C.F.R. § 92.206(c):

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         Nothing in this section requires the provision of any health service where the
         covered entity has a legitimate, nondiscriminatory reason for denying or limiting
         that service, including where the covered entity typically declines to provide the
         health service to any individual or where the covered entity reasonably determines
         that such health service is not clinically appropriate for a particular individual.
         However, a provider’s belief that gender transition or other gender-affirming care
         can never be beneficial for such individuals (or its compliance with a state or local
         law that reflects a similar judgment) is not a sufficient basis for a judgment that a
         health service is not clinically appropriate.
Dep’t of Health & Human Services, Nondiscrimination in Health Programs and Activities, No-
tice of Proposed Rulemaking, 87 Fed. Reg. 47,824, 47,916 (Aug. 4, 2022). Terms like “legiti-
mate” or “nondiscriminatory” are in the eye of the beholder — and a provider can only guess as
to whether the powers that be at HHS will regard its refusal to provide puberty blockers to a
minor (or “gender-affirming care” to a transgender patient) as “legitimate” or “nondiscrimina-
tory.”

    The defendants nonetheless insist that Dr. Neese and Dr. Hurly have nothing to worry
about, because they claim that the preamble to the proposed rule provides assurances that Dr.
Neese and Dr. Hurly may continue practicing medicine in the manner described in their sworn
declarations. See Defs.’ Br., ECF No. 56, at 16–17; 1 C.F.R. § 18.12 (describing preamble and
its contents). But a preamble has no binding authority even in a final rule,1 and it certainly has
no binding effect in a proposed rule that is still in the notice-and-comment process. See Com-
modity Futures Trading Comm’n v. Schor, 478 U.S. 833, 845 (1986) (“It goes without saying
that a proposed regulation does not represent an agency’s considered interpretation of its statute

and that an agency is entitled to consider alternative interpretations before settling on the view
it considers most sound.”); Williams Natural Gas Co. v. FERC, 872 F.2d 438, 446 (D.C. Cir.
1989) (“An NOPR is by definition the expression of an agency’s tentative position. The whole
point of notice-and-comment rulemaking, after all, is that the comments which the agency re-
ceives may induce it to abandon or modify its initial views. We therefore recognize that the
issuance of an NOPR — even a strongly worded NOPR — in no way binds the Commission to

1. See Nat’l Wildlife Federation v. EPA, 286 F.3d 554, 569–70 (D.C. Cir. 2002)

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promulgate the proposed regulation.”); Public Citizen, Inc. v. U.S. Dep’t of Health & Human
Services, 332 F.3d 654, 669 (D.C. Cir. 2003) (“The interpretation contained in the agency’s

proposed rule does not, of course, bind it here.”).
    But the more serious problem is that there is nothing in the preamble that purports to shield
the conduct described in the Neese and Hurly declarations. Dr. Neese claims that she is:

   1. “[C]ategorically unwilling to prescribe puberty blockers or hormone therapy to mi-
      nors, or to assist a minor with transitioning,” because she “do[es] not believe that
      the brains of minors are fully mature or that they fully understand the ramifications
      of their actions,” Neese Decl. ¶¶ 9–10, ECF No. 47-1.

   2. “[R]eluctant to prescribe hormone therapy or assist a patient in a gender transition
      absent a longstanding relationship with that patient, because sometimes the appro-
      priate response to gender dysphoria is a referral for counseling and psychological care
      rather than hormone therapy,” id. at ¶ 11.

   3. Unwilling to provide “gender-affirming care” to transgender patients when the pa-
      tient’s “denial of biological realities will endanger their life or safety,” id. at ¶ 12; see
      also id. at ¶¶ 13–16.

   4. Determined to urge her patients to seek and obtain preventive care consistent with
      their biological sex rather than accommodate the beliefs of a male-to-female
      transgender patient who refuses to acknowledge his or her need for prostate-cancer
      screening, see id. at ¶ 18; see also Hurly Decl. ¶¶ 7–9, ECF No. 47-2.
Yet the passages that the defendants cite do not purport to establish a safe harbor for any of
this. The defendants tout a passage that says covered entities may “treat[] an individual for
conditions that may be specific to their sex characteristics,” such as treating a woman-to-man
transgender patient for pregnancy. See 87 Fed. Reg. at 47,866. But Dr. Neese is asserting her
right to deny “gender-affirming” care or treatment to transgender patients when doing so would
endanger their health or safety, and to insist that transgender patients who deny biological real-
ities seek and obtain preventive care in accordance with their biological sex. Neither the rule
nor the preamble provides any protection for this. Indeed, both the rule and the preamble
explicitly forbid any practice that “prevents an individual from participating in a health program




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or activity consistent with the individual’s gender identity,”2 which does not leave any room for
the practices described in Dr. Neese’s (and Dr. Hurly’s) declarations. And although the defend-

ants observe that the preamble and the rule prohibit covered entities from denying or withhold-
ing preventive care that accords with a transgender patient’s biological sex,3 neither Dr. Neese
nor Dr. Hurly is seeking to withhold preventive care of that sort. Quite the opposite: They want
to provide preventive care that aligns with a transgender patient’s biological sex — and insist that
a transgender patient who refuses to acknowledge their biological sex to seek and obtain that
care. There is nothing in the rule or the preamble that protects health-care providers who at-
tempt to overcome the obstinance of a transgender patient rather than “affirm” a patient’s de-
lusional beliefs.
    The defendants also claim that Dr. Neese has a “legitimate, nondiscriminatory reason” for
refusing to provide puberty blockers or hormone therapy to minors, or to patients with whom
she lacks a longstanding relationship, and that she would therefore be shielded under proposed
42 C.F.R. § 92.206(c):

       Nothing in this section requires the provision of any health service where the
       covered entity has a legitimate, nondiscriminatory reason for denying or limiting
       that service, including where the covered entity typically declines to provide the
       health service to any individual or where the covered entity reasonably determines
       that such health service is not clinically appropriate for a particular individual.
       However, a provider’s belief that gender transition or other gender-affirming care
       can never be beneficial for such individuals (or its compliance with a state or local


2. See 87 Fed. Reg. at 47,918 (quoting proposed 42 C.F.R. § 92.206(b)(3)); see also id. at 47,866
   (“[T]his provision would prohibit the adoption of a policy, or engaging in a practice, that
   prevents any individual from participating in a covered entity’s health program or activity
   consistent with their gender identity.”
3. See 87 Fed. Reg. at 47,918 (proposed 42 C.F.R. § 92.206(b)(1)); id. at 47,865–66 (“Under
   this provision, a covered entity that routinely provides gynecological or obstetric care could
   not deny an individual a pelvic exam or pregnancy-related care because the individual is a
   transgender man or nonbinary person assigned female at birth, if the entity otherwise pro-
   vides that care to cisgender individuals. Similarly, a community clinic that receives funding
   from the Department could not refuse to provide a transgender woman a prostate cancer
   screening because her sex is listed female in her electronic health record, if the entity other-
   wise provides these screenings to cisgender individuals.”).

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        law that reflects a similar judgment) is not a sufficient basis for a judgment that a
        health service is not clinically appropriate.
87 Fed. Reg. at 47,918. But the last sentence in proposed 42 C.F.R. § 92.206(c) gives the game
away. Dr. Neese believes that gender transitioning is categorically inappropriate for minors,4 and
the proposed rule specifically negates that belief as a “legitimate, nondiscriminatory reason” for
denying puberty blockers or hormone therapy. There is also nothing in the rule (or the pream-
ble) that indicates that a refusal to provide transitioning services absent a “longstanding rela-
tionship” qualifies as a legitimate, nondiscriminatory reason for withholding hormone therapy.
In all events, it is clear that the proposed rule will prohibit Dr. Neese from denying transitioning
services to minors based on her belief that gender transitioning is categorically inappropriate for
“such individuals,” and that is all that is needed to establish a “credible threat” of enforcement.
See Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014); see also Justice v. Hosemann,
771 F.3d 285, 291–92 (5th Cir. 2014) (“Plaintiffs have thus shown that they have a legitimate
fear of . . . penalties for failure to comply with Chapter 17.”). In re Gee, 941 F.3d 153, 161 n.3
(5th Cir. 2019) (“A would-be plaintiff need not violate a criminal provision and risk prosecution
to challenge it.”).

II.     The Plaintiffs Are Entitled To Judgment As A Matter Of Law
      The Secretary spends much of his brief arguing points that the plaintiffs do not dispute.
The plaintiffs have acknowledged from the outset that the holding of Bostock applies to Title IX
and section 1557; they contest only the Secretary’s interpretation of Bostock’s holding. So the
plaintiffs do not dispute the arguments in Sections II.A.I, II.A.2, and II.A.3 of the Secretary’s

brief. Bostock’s interpretation of Title VII applies to Title IX, and Bostock’s holding is binding on
health-care providers that receive federal funds under section 1557.




4. Neese Decl. ¶¶ 9, ECF No. 47-1 (“I do not believe that the brains of minors are fully mature
   or that they fully understand the ramifications of their actions.”); id. at ¶ 10 (“I am categor-
   ically unwilling to prescribe puberty blockers or hormone therapy to minors, or to assist a
   minor with transitioning.”).

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    The Secretary is wrong, however, to claim that Bostock prohibits all forms of “discrimination
on the basis of sexual orientation” and “discrimination on the basis of gender identity.” Bostock

prohibits only acts that discriminate on the basis of sex, which occurs when an individual would
have acted differently toward an identically situated member of the opposite biological sex. See
Bostock v. Clayton County, 140 S. Ct. 1731, 1741 (2020) (“[I]f changing the employee’s sex
would have yielded a different choice by the employer . . . a statutory violation has occurred.”).
If a health-care provider refuses to treat a man because he is sexually attracted to men, but
would have no objection to treating a biological woman who is sexually attracted to men, then
that clearly constitutes “sex” discrimination under Bostock. The same is true for a health-care
provider that refuses to treat a man-to-woman transgender patient simply because the individual
identifies as a woman, while remaining willing to treating biological women who identify as
women. That is an act of “sex” discrimination under Bostock because changing the biological
sex of the patient changes the outcome.5
    Where the Secretary goes wrong is in claiming that all acts of discrimination on account of
sexual orientation or gender identify qualify as “sex” discrimination under Bostock. That is as-
suredly not what Bostock held. Health-care providers may take discriminatory actions against
homosexual or transgender patients if (and only if) the same action would have been taken
against an identically situated member of the opposite biological sex. See Bear Creek Bible
Church v. EEOC, 571 F. Supp. 3d 571, 622–23 (N.D. Tex. 2021); see also id. at 623 (“Bostock
does not protect sexual conduct; it protects employees from being treated differently based on
their biological sex, which is an immutable characteristic distinct from sexual conduct itself.

Policies that enforce a sexual ethic that applies evenly to heterosexual and homosexual sexual
activity do not discriminate ‘because of’ sex.”). So if a health-care provider refuses to prescribe



5. We entirely agree with the Secretary that a hospital cannot “refuse[] to admit transgender
   patients because it disapproves of their gender identity.” Defs.’ Br., ECF No. 56, at 23. Con-
   duct of that sort is prohibited by Bostock even in the absence of the Secretary’s notification
   or proposed rulemaking.

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testosterone hormones to a biological woman who wishes to appear more masculine, he cannot
be guilty of “sex” discrimination unless he would willingly prescribe the same testosterone hor-

mones to a biological man who wishes to appear more masculine. If a health-care provider
denies this treatment equally across the sexes, then there is no “sex” discrimination under Bos-
tock. See Bostock, 140 S. Ct. at 1742 (“Take an employer who fires a female employee for tardi-
ness or incompetence or simply supporting the wrong sports team. Assuming the employer
would not have tolerated the same trait in a man, Title VII stands silent.”). The same is true for
a health-care provider who refuses to refer a biological man for breast implants or breast-aug-
mentation surgery. The provider is guilty of “sex” discrimination only if he would willingly
provide an identical referral to a biological female. See id. at 1740 (“[F]iring [a] person for
actions or attributes it would tolerate in an individual of another sex . . . discriminates against
that person in violation of Title VII.”). If a provider refuses to provide these referrals to members
of both biological sexes, then there can be no “sex” discrimination under Bostock—even though
the provider may very well be discriminating on account of “gender identity” by refusing to
provide gender-affirming care to patients suffering from gender dysphoria.
    The Secretary’s objections to this argument have already been addressed in our previous
briefing. The Secretary invokes the following passage from Bostock:

       But unlike any of these other traits or actions [i.e., tardiness, incompetence, or
       supporting the wrong sports team], homosexuality and transgender status are in-
       extricably bound up with sex. Not because homosexuality or transgender status
       are related to sex in some vague sense or because discrimination on these bases
       has some disparate impact on one sex or another, but because to discriminate on
       these grounds requires an employer to intentionally treat individual employees
       differently because of their sex.
Bostock, 140 S. Ct. at 1742; Defs.’ Br., ECF No. 56, at 25. But this passage is entirely consistent
with our argument. A health-care provider who discriminates against someone for being homo-
sexual or transgender is indisputably violating Bostock because the provider would have acted
differently toward an identically situated member of the opposite biological sex. See Bostock,
140 S. Ct. at 1737; see also supra note 5. But that is a far cry from saying that a refusal to provide


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transition services or gender-affirming care is “sex” discrimination — without knowing whether
the provider would have responded similarly or differently to an identically situated member of

the opposite biological sex.
    The Secretary also observes that Bostock rejected the idea that employers could establish a
sex-neutral rule of conduct by prohibiting “homosexual behavior” and extending that rule
equally to men and women. See Bostock, 140 S. Ct. at 1741–42; id. at 1745–46; ECF No. 56,
at 25–26. But we have already addressed this point: Bostock rejected this idea because it held
that the relevant prohibition should not be defined at that level of abstraction, and insisted that
one must instead look to the employee’s precise behavior (sexual attraction to a particular per-
son) and ask whether that exact situation would be tolerated in a member of the opposite bio-
logical sex. See Bostock, 140 S. Ct. at 1741 (“Consider, for example, an employer with two
employees, both of whom are attracted to men. The two individuals are, to the employer’s mind,
materially identical in all respects, except that one is a man and the other a woman. If the em-
ployer fires the male employee for no reason other than the fact he is attracted to men, the
employer discriminates against him for traits or actions it tolerates in his female colleague.”).
That is the same approach to be used in section 1557: Keep everything about the patient the
same and change only his biological sex, and then ask whether the change in sex would change
the provider’s conduct. The Secretary has shunned this approach in favor of a crude and insuf-
ficiently nuanced rule that prohibits any discriminatory act based on sexual orientation or gen-
der identity.

                                       CONCLUSION
    The plaintiffs’ motion for summary judgment should be granted, and the defendants’ mo-
tion for summary judgment should be denied.




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                                            Respectfully submitted.

                                             /s/ Jonathan F. Mitchell
Gene P. Hamilton                            Jonathan F. Mitchell
Virginia Bar No. 80434                      Texas Bar No. 24075463
Vice-President and General Counsel          Mitchell Law PLLC
America First Legal Foundation              111 Congress Avenue, Suite 400
300 Independence Avenue SE                  Austin, Texas 78701
Washington, DC 20003                        (512) 686-3940 (phone)
(202) 964-3721 (phone)                      (512) 686-3941 (fax)
gene.hamilton@aflegal.org                   jonathan@mitchell.law

                                            Counsel for Plaintiffs and
Dated: September 16, 2022                   the Proposed Class




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                            CERTIFICATE OF SERVICE
    I certify that on September 16, 2022, I served this document through CM/ECF upon:

Jeremy S.B. Newm an
United States Department of Justice
Civil Division, Federal Programs Branch
1100 L Street N.W.
Washington, DC 20005
(202) 532-3114 (phone)
(202) 616-8460 (fax)
jeremy.s.newman@usdoj.gov

Counsel for Defendants

                                           /s/ Jonathan F. Mitchell
                                          Jonathan F. Mitchell
                                          Counsel for Plaintiffs and
                                          the Proposed Class




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